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                       UNITED STATE BANKRUPTCY COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION
                                  www.flsb.uscourts.gov

In re:                                                          Case No. 14-21825-AJC

MAILIN ALFONSO,                                                 Chapter 7

            Debtor(s).
_____________________________________/

                           NOTICE OF VOLUNTARY FEE REDUCTION

         The undersigned, Chapter 7 Trustee, hereby certifies that general counsel to the estate has

agreed to further reduce his request for compensation [ECF No. 90] from $11,605 to $7,000.


         Dated: May 9, 2017

                                                   DREW M. DILLWORTH, TRUSTEE
                                                   150 West Flagler Street
                                                   2200 Museum Tower Building
                                                   Miami, Florida 33130
                                                   Telephone:    (305) 789-3598
                                                   Facsimile:    (305) 789-3395


                                                   By /s/Drew M. Dillworth
                                                          DREW M. DILLWORTH
                                                          ddillworth@stearnsweaver.com

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